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          SUPREME COURT OF THE STATE OF NEW YORK
          NEW YORK COUNTY
          DUSTIN CHUDALLA; FRANK SAUMTY; JEFFREY                          )
          EVANS; BILLY SCHAFF; AND JERRY GOULD,                           )
                                                                          )
                                                                          )
                         Plaintiff,                                       )   Index No. _________/2022
                                                                          )
          -vs-                                                            )   SUMMONS
                                                                          )
                                                                              Venue is designated pursuant
                                                                          )
                                                                              to CPLR § 503(a) & (c) in
          THE 3M COMPANY, f/k/a Minnesota Mining and                      )
                                                                              that the causes of action
          Manufacturing Co., AGC CHEMICALS AMERICAS INC.,                 )
                                                                              occurred in this county.
          AMEREX CORPORATION, ARKEMA INC.,                                )
          ARCHROMA U.S. INC., BUCKEYE FIRE EQUIPMENT                      )
          COMPANY, CARRIER GLOBAL CORPORATION,                            )
          CHEMDESIGN PRODUCTS INC., CHEMGUARD INC.
          CHEMICALS, INC., CLARIANT CORPORATION,                          )
          individually and as successor in interest to Sandoz Chemical    )
          Corporation, CORTEVA, INC., individually and as                 )
          successor in interest to DuPont Chemical Solutions              )
          Enterprise, DEEPWATER CHEMICALS, INC., DUPONT                   )
          DE NEMOURS INC., individually and as successor in               )
          interest to DuPont Chemical Solutions Enterprise, DYNAX
                                                                          )
          CORPORATION, E. I. DUPONT DE NEMOURS AND
          COMPANY, individually and as successor in interest to           )
          DuPont Chemical Solutions Enterprise, KIDDE-FENWAL,             )
          INC., individually and as successor in interest to Kidde Fire   )
          Fighting, Inc., NATION FORD CHEMICAL COMPANY,                   )
          THE CHEMOURS COMPANY, individually and as                       )
          successor in interest to DuPont Chemical Solutions              )
          Enterprise, THE CHEMOURS COMPANY FC, LLC,
                                                                          )
          individually and as successor in interest to DuPont Chemical
          Solutions Enterprise, and TYCO FIRE PRODUCTS, LP,               )
          individually and as successor in interest to The Ansul          )
          Company, and DOE DEFENDANTS 1-20, fictitious names              )
          whose present identities are unknown,                           )
                                                                          )
                                                                          )
                         Defendants.
                                                                          )
                                                                          )
                                                                          )
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          To the above-named Defendant:

                 You are hereby summoned to answer the Complaint in this action, and to serve a copy of

          your Answer, or, if the Complaint is not served with this Summons, to serve a Notice of

          Appearance on the Plaintiffs’ attorneys within twenty (20) days after the service of this Summons,

          exclusive of the day of service, where service is made by delivery upon you personally within the

          state, or, within thirty (30) days after completion of service where service is made in any other

          manner. In case of your failure to appear or answer, judgment will be taken against you by default

          for the relief demanded in the Complaint.

          Dated: New York, New York
                 May 31, 2022

                                                                      Napoli Shkolnik, PLLC
                                                                      Attorneys for Plaintiff

                                                                      /s/ Patrick J. Lanciotti
                                                                      Patrick J. Lanciotti, Esq.
                                                                      360 Lexington Avenue, 11th Floor
                                                                      New York, New York 10017
                                                                      212-397-1000
                                                                      PLanciotti@napolilaw.com

          To:

          3M COMPANY
          c/o Corporation Service Company
          251 Little Falls Drive
          Wilmington, New Castle, DE 19808

          AGC CHEMICALS AMERICAS INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801




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          AMEREX CORPORATION
          c/o James M. Proctor II
          2900 Highway 280
          Suite 300
          Birmingham, AL 35223

          ARCHROMA U.S. INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          ARKEMA INC.
          900 First Avenue
          King of Prussia, PA 19406

          BUCKEYE FIRE EQUIPMENT COMPANY
          c/o A Haon Corporate Agent, Inc.
          29225 Chagrin Blvd, Suite 350
          Pepper Pike, OH 44122

          CARRIER GLOBAL CORPORATION
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          CHEMDESIGN PRODUCTS INC.
          c/o Corporation Service Company
          251 Little Falls Drive
          Wilmington, New Castle, DE, 19808

          CHEMGUARD INC.
          c/o The Prentice-Hall Corporation System, Inc.
          251 Little Falls Drive
          Wilmington, New Castle, DE, 19808
          CHEMICALS, INC.
          c/o Ashok K. Moza
          12321 Hatcherville
          Baytown, TX 77520




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          CLARIANT CORPORATION
          c/o Corporation Service Company
          8040 Excelsior Drive, Suite 400
          Madison, WI 53717

          CORTEVA, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DEEPWATER CHEMICALS, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DUPONT DE NEMOURS INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DYNAX CORPORATION
          c/o Corporate Systems LLC
          3500 S. Dupont Highway
          Dover, DE 19901

          E. I. DUPONT DE NEMOURS AND COMPANY
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          KIDDE-FENWAL, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801




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          NATION FORD CHEMICAL COMPANY
          c/o John A. Dickson, IV
          2300 Bank Street
          Fort Mill, SC 29715

          THE CHEMOURS COMPANY
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          THE CHEMOURS COMPANY FC, LLC
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          TYCO FIRE PRODUCTS LP
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801




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          SUPREME COURT OF THE STATE OF NEW YORK
          NEW YORK COUNTY
          DUSTIN CHUDALLA; FRANK SAUMTY; JEFFREY                      )
          EVANS; BILLY SCHAFF; AND JERRY GOULD,                       )
                                                                      )
                                                                      )
                                Plaintiff,                            )   Index No. _________/2022
          -vs-                                                        )
                                                                      )   COMPLAINT AND
          THE 3M COMPANY, f/k/a Minnesota Mining and                  )   DEMAND FOR JURY
          Manufacturing Co., AGC CHEMICALS AMERICAS                   )   TRIAL
          INC., AMEREX CORPORATION, ARKEMA INC.,                      )
          ARCHROMA U.S.INC., BUCKEYE FIRE                             )   Trial by jury is desired in
          EQUIPMENT COMPANY, CARRIER GLOBAL                           )   the County of New York
          CORPORATION, CHEMDESIGN PRODUCTS INC.,                      )
          CHEMGUARD INC. CHEMICALS, INC., CLARIANT                    )   Venue is designated
          CORPORATION, individually and as successor in               )   pursuant to CPLR § 503(a)
          interest to Sandoz Chemical Corporation, CORTEVA,           )   & (c) in that the causes of
          INC., individually and as successor in interest to DuPont   )   action occurred in this
          Chemical Solutions Enterprise, DEEPWATER                    )   county.
          CHEMICALS, INC., DUPONT DE NEMOURS INC.,                    )
          individually and as successor in interest to DuPont         )
          Chemical Solutions Enterprise, DYNAX                        )
          CORPORATION, E. I. DUPONT DE NEMOURS AND                    )
          COMPANY, individually and as successor in interest to       )
          DuPont Chemical Solutions Enterprise, KIDDE-                )
          FENWAL, INC., individually and as successor in              )
          interest to Kidde Fire Fighting, Inc., NATION FORD          )
          CHEMICAL COMPANY, THE CHEMOURS                              )
          COMPANY, individually and as successor in interest to       )
          DuPont Chemical Solutions Enterprise, THE                   )
          CHEMOURS COMPANY FC, LLC, individually and as               )
          successor in interest to DuPont Chemical Solutions          )
          Enterprise, and TYCO FIRE PRODUCTS, LP,                     )
          individually and as successor in interest to The Ansul      )
          Company, and DOE DEFENDANTS 1-20, fictitious                )
          names whose present identities are unknown,                 )
                                                                      )
                                 Defendants.                          )
                                                                      )
                                                                      )




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                                COMPLAINT AND DEMAND FOR JURY TRIAL

                 Plaintiff(s) DUSTIN CHUDALLA; FRANK SAUMTY; JEFFREY EVANS; BILLY

          SCHAFF; AND JERRY GOULD, (“Plaintiffs”), by and through their undersigned counsel, hereby

          files this Complaint, against Defendants 3M COMPANY, f/k/a Minnesota Mining and

          Manufacturing Co., AGC CHEMICALS AMERICAS INC., AMEREX CORPORATION,

          ARKEMA INC., ARCHROMA U.S. Inc., BUCKEYE FIRE EQUIPMENT COMPANY,

          CARRIER GLOBAL CORPORATION, CHEMDESIGN PRODUCTS INC., CHEMGUARD

          INC., CHEMICALS, INC., CLARIANT CORPORATION, CORTEVA, INC., DEEPWATER

          CHEMICALS, INC., DUPONT DE NEMOURS INC., DYNAX CORPORATION, E. I.

          DUPONT DE NEMOURS AND COMPANY, KIDDE-FENWAL, INC., NATION FORD

          CHEMICAL COMPANY, THE CHEMOURS COMPANY, THE CHEMOURS COMPANY FC,

          LLC, and TYCO FIRE PRODUCTS, LP, and DOE DEFENDANTS 1-20 (collectively

          “Defendants”) alleges, upon information and belief, as follows:

                                                  INTRODUCTION

                 1.      Plaintiffs bring this action for damages for personal injury resulting from exposure

          to aqueous film-forming foams (“AFFF”) containing the toxic chemicals collectively known as

          per and polyfluoroalkyl substances (“PFAS”). PFAS includes, but is not limited to,

          perfluorooctanoic acid (“PFOA”) and perfluorooctane sulfonic acid (“PFOS”) and related

          chemicals including those that degrade to PFOA and/or PFOS.

                 2.      AFFF is a specialized substance designed to extinguish petroleum-based fires. It

          has been used for decades by military and civilian firefighters to extinguish fires in training and in

          response to Class B fires.

                 3.      Defendants collectively designed, marketed, developed, manufactured, distributed,

          released, trained users, produced instructional materials, promoted, sold, and/or otherwise released


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          into the stream of commerce AFFF with knowledge that it contained highly toxic and bio persistent

          PFASs, which would expose end users of the product to the risks associated with PFAS. Further,

          defendants designed, marketed, developed, manufactured, distributed, released, trained users,

          produced instructional materials, promoted, sold and/or otherwise handled and/or used underlying

          chemicals and/or products added to AFFF which contained PFAS for use in firefighting.

                 4.        PFAS binds to proteins in the blood of humans exposed to the material and remains

          and persists over long periods of time. Due to their unique chemical structure, PFAS accumulates

          in the blood and body of exposed individuals.

                 5.        PFAS are highly toxic and carcinogenic chemicals. Defendants knew, or should

          have known, that PFAS remain in the human body while presenting significant health risks to

          humans.

                 6.        Defendants’ PFAS-containing AFFF products were used by the Plaintiff in their

          intended manner, without significant change in the products’ condition. Plaintiff was unaware of

          the dangerous properties of the Defendants’ AFFF products and relied on the Defendants’

          instructions as to the proper handling of the products. Plaintiff’s consumption, inhalation and/or

          dermal absorption of PFAS from Defendant’s AFFF products caused Plaintiff to develop the

          serious medical conditions and complications alleged herein.

                 7.        Through this action, Plaintiff seeks to recover compensatory and punitive damages

          arising out of the permanent and significant damages sustained as a direct result of exposure to

          Defendants’ AFFF products at various locations during the course of Plaintiff’s training and

          firefighting activities. Plaintiff further seeks injunctive, equitable, and declaratory relief arising

          from the same.




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                                           JURISDICTION AND VENUE

                 8.      This Court has jurisdiction because Defendant Dynax Corporation’s principal place

          of business is located at 103 Fairview Park Drive, Elmsford, New York 10523.

                 9.      Venue is proper in this District under CPLR §503 (a) because the events, omissions

          and harms that are the basis of Plaintiffs claims occurred in substantial party in this District.

                 10.     This Court has personal jurisdiction over Defendants by virtue of each Defendants’

          regular and systematic contacts with New York, including, among other things, purposefully

          marketing, selling and/or distributing their AFFF/Component Products to and within New York,

          and because they have the requisite minimum contacts with New York necessary to

          constitutionally permit the Court to exercise jurisdiction over them consistent with traditional

          notions of fair play and substantial justice.

                                                          PARTIES

                 A.      Plaintiff

                 11.     (“Plaintiff”) DUSTIN CHUDALLA is a resident and citizen of Texas. Plaintiff

          regularly used, and was thereby directly exposed to, AFFF in training and to extinguish fires during

          his working career as a military and/or civilian firefighter. Plaintiff was diagnosed with Liver

          Cancer as a result of exposure to Defendants’ AFFF products.

                 12.     (“Plaintiff”) FRANK SAUMTY is a resident and citizen of Oklahoma. Plaintiff

          regularly used, and was thereby directly exposed to, AFFF in training and to extinguish fires during

          his working career as a military and/or civilian firefighter. Plaintiff was diagnosed with Prostate

          Cancer as a result of exposure to Defendants’ AFFF products.




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                 13.      (“Plaintiff”) JEFFREY EVANS is a resident and citizen of North Carolina. Plaintiff

          regularly used, and was thereby directly exposed to, AFFF in training and to extinguish fires during

          his working career as a military and/or civilian firefighter. Plaintiff was diagnosed with Bladder

          Cancer, High Cholesterol as a result of exposure to Defendants’ AFFF products.

                 14.      (“Plaintiff”) BILLY SCHAFF is a resident and citizen of Mississippi. Plaintiff

          regularly used, and was thereby directly exposed to, AFFF in training and to extinguish fires during

          his working career as a military and/or civilian firefighter. Plaintiff was diagnosed with Prostate

          Cancer as a result of exposure to Defendants’ AFFF products.

                 15.      (“Plaintiff”) JERRY GOULD is a resident and citizen of Idaho. Plaintiff regularly

          used, and was thereby directly exposed to, AFFF in training and to extinguish fires during his

          working career as a military and/or civilian firefighter. Plaintiff was diagnosed with High

          Cholesterol, Leukemia as a result of exposure to Defendants’ AFFF products.

                 B.       Defendants

                 16.      The term “Defendants” refers to all Defendants named herein jointly and severally.

                        i.       The AFFF Defendants

                 17.      The term “AFFF Defendants” refers collectively to Defendants 3M Company,

          Angus International Safety Group, Ltd., Amerex Corporation, Buckeye Fire Equipment Company,

          Carrier Global Corporation, Central Sprinkler, LLC, Chemguard Inc., Fire Products GP Holding,

          LLC, Johnson Controls International PLC, Kidde-Fenwal, Inc., and Tyco Fire Products L.P.,

                 18.      Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing Co.

          (“3M”) is a corporation organized and existing under the laws of the State of Delaware, with its

          principal place of business located at 3M Center, St. Paul, Minnesota 55144-1000.




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                  19.      Beginning before 1970 and until at least 2002, 3M designed, manufactured,

          marketed, distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

          PFOS.

                  20.      Defendant Amerex Corporation (“Amerex”) is a corporation organized and

          existing under the laws of the State of Alabama, with its principal place of business located at 7595

          Gadsden Highway, Trussville, AL 35173.

                  21.      Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

          manufacturer of hand portable and wheeled extinguishers for commercial and industrial

          applications.

                  22.      In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest

          manufacturers of AFFF products in Europe.

                  23.      On information and belief, beginning in 2011, Amerex designed, manufactured,

          marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

          PFOS.

                  24.      Defendant Tyco Fire Products LP (“Tyco”) is a limited partnership organized

          under the laws of the State of Delaware, with its principal place of business located at One Stanton

          Street, Marinette, Wisconsin 54143-2542.

                  25.      Tyco is the successor in interest of The Ansul Company (“Ansul”), having acquired

          Ansul in 1990.

                  26.      Beginning in or around 1975, Ansul designed, manufactured, marketed, distributed,

          and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.




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                  27.    After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design, manufacture,

          market, distribute, and sell AFFF products containing PFAS, including but not limited to PFOA

          and PFOS.

                  28.    Defendant Chemguard, Inc. (“Chemguard”) is a corporation organized under

          the laws of the State of Texas, with its principal place of business located at One Stanton Street,

          Marinette, Wisconsin 54143.

                  29.    On information and belief, Chemguard designed, manufactured, marketed,

          distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

          PFOS.

                  30.    On information and belief, Chemguard was acquired by Tyco International Ltd. in

          2011.

                  31.    On information and belief, Tyco International Ltd. later merged into its subsidiary

          Tyco International plc in 2014 to change its jurisdiction of incorporation from Switzerland to

          Ireland.

                  32.    Defendant Buckeye Fire Equipment Company (“Buckeye”) is a corporation

          organized under the laws of the State of Ohio, with its principal place of business located at 110

          Kings Road, Kings Mountain, North Carolina 28086.

                  33.    On information and belief, Buckeye designed, manufactured, marketed, distributed,

          and sold AFFF products containing PFAS, including but not limited to PFOA and PFOS.

                  34.    Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized

          under the laws of the State of Delaware, with its principal place of business at One Financial Plaza,

          Hartford, Connecticut 06101.




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                 35.       On information and belief, Kidde-Fenwal was an operating subsidiary of Kidde

          P.L.C. and manufactured AFFF following Kidde P.L.C.’s acquisition by United Technologies

          Corporation.

                 36.       On information and belief, Kidde-Fenwal is the entity that divested the AFFF

          business unit now operated by National Foam in 2013.

                 37.       Defendant Carrier Global Corporation (“Carrier”) is a corporation organized

          under the laws of the State of Delaware, with its principal place of business at 13995 Pasteur

          Boulevard, Palm Beach Gardens, Florida 33418.

                 38.       On information and belief, Carrier was formed in March 2020 when United

          Technologies Corporation spun off its fire and security business before it merged with Raytheon

          Company in April 2020.

                 39.       On information and belief, Kidde-Fenwal became a subsidiary of Carrier when

          United Technologies Corporation spun off its fire and security business in March 2020.

                 40.       On information and belief, the AFFF Defendants designed, manufactured,

          marketed, distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical

          precursors that were stored, handled, used, trained with, tested equipment with, otherwise

          discharged, and/or disposed at the Sites.

                         ii.      The Fluorosurfactant Defendants

                 41.       The term “Fluorosurfactant Defendants” refers collectively to Defendants 3M, ,

          Arkema Inc., ChemDesign Products Incorporated, Chemguard Inc., Deepwater Chemicals, Inc.,

          E.I. DuPont de Nemours and Company, The Chemours Company, The Chemours Company FC,

          LLC, DuPont de Nemours Inc., and Dynax Corporation.

                 42.       Defendant Arkema Inc. is a corporation organized and existing under the laws of

          Pennsylvania, with its principal place of business at 900 First Avenue, King of Prussia, PA 19406.


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                 43.    Arkema Inc. develops specialty chemicals and polymers.

                 44.    Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

                 45.    On information and belief, Arkema Inc. designed, manufactured, marketed,

          distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

          for use in AFFF products.

                 46.    Defendant ChemDesign Products Inc. (“ChemDesign”) is a corporation

          organized under the laws of Delaware, with its principal place of business located at 2 Stanton

          Street, Marinette, WI, 54143.

                 47.    On information and belief, ChemDesign designed, manufactured, marketed,

          distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

          for use in AFFF products

                 48.    Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a corporation organized

          under the laws of Delaware, with its principal place of business located at 196122 E County Road

          40, Woodward, OK, 73801.

                 49.    On information and belief, Deepwater Chemicals designed, manufactured,

          marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

          precursors for use in AFFF products

                 50.    Defendant Dynax Corporation (“Dynax”) is a corporation organized under the

          laws of the State of Delaware, with its principal place of business located at 103 Fairview Park

          Drive, Elmsford, New York 10523.

                 51.    On information and belief, Dynax entered into the AFFF market on or about 1991

          and quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

          containing PFOS, PFOA, and/or their chemical precursors.




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                 52.     On information and belief, Dynax designed, manufactured, marketed, distributed,

          and sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their

          chemical precursors for use in AFFF products.

                 53.     Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation

          organized under the laws of the State of Delaware, with its principal place of business located at

          974 Centre Road, Wilmington, Delaware 19805.

                 54.     Defendant The Chemours Company (“Chemours Co.”) is a limited liability

          company organized under the laws of the State of Delaware, with its principal place of business

          located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

                 55.     In 2015, DuPont spun off its performance chemicals business to Chemours Co.,

          along with vast environmental liabilities which Chemours Co. assumed, including those related to

          PFOS and PFOA and fluorosurfactants. On information and belief, Chemours Co. has supplied

          fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to manufacturers

          of AFFF products.

                 56.     On information and belief, Chemours Co. was incorporated as a subsidiary of

          DuPont as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly-owned

          subsidiary of DuPont.

                 57.     In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

          “performance chemicals” business line, which includes its fluoroproducts business, distributing

          shares of Chemours Co. stock to DuPont stockholders, and Chemours Co. has since been an

          independent, publicly-traded company.




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                 58.        Defendant The Chemours Company FC, LLC (“Chemours FC”) is a limited

          liability company organized under the laws of the State of Delaware, with its principal place of

          business located at 1007 Market Street, Wilmington, Delaware, 19899.

                 59.        Defendant Corteva, Inc. (“Corteva”) is a corporation organized and existing

          under the laws of Delaware, with its principal place of business at 974 Centre Rd., Wilmington,

          Delaware 19805.

                 60.        Defendant Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de

          Nemours Inc.”) is a corporation organized and existing under the laws of Delaware, with its

          principal place of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H. Dow

          Way, Midland, Michigan 48674.

                 61.        On June 1, 2019, DowDuPont separated its agriculture business through the spin-

          off of Corteva.

                 62.        Corteva was initially formed in February 2018. From that time until June 1, 2019,

          Corteva was a wholly-owned subsidiary of DowDuPont.

                 63.        On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued

          and outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that

          distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

                 64.        Corteva holds certain DowDuPont assets and liabilities, including DowDuPont’s

          agriculture and nutritional businesses.

                 65.        On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva and

          of another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to be known

          as DuPont (“New DuPont”). New DuPont retained assets in the specialty products business lines




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          following the above-described spin-offs, as well as the balance of the financial assets and liabilities

          of E.I DuPont not assumed by Corteva.

                 66.      Defendants E. I. Du Pont de Nemours and Company; The Chemours Company;

          The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

          referred to as “DuPont” throughout this Complaint.

                 67.      On information and belief, DuPont designed, manufactured, marketed, distributed,

          and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for use in

          AFFF products.

                 68.      On information and belief, 3M and Chemguard also designed, manufactured,

          marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

          precursors for use in AFFF products.

                 69.      On information and belief, the Fluorosurfactant Defendants                   designed,

          manufactured, marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or

          their chemical precursors for use in AFFF products that were stored, handled, used, trained with,

          tested equipment with, otherwise discharged, and/or disposed at the Sites.

                       iii.      The PFC Defendants

                 70.      The term “PFC Defendants” refers collectively to 3M, AGC Chemicals Americas

          Inc., Archroma U.S. Inc., ChemDesign Products Inc., Chemicals, Inc., Clariant Corporation,

          Deepwater Chemicals, Inc., E. I. DuPont de Nemours and Company, The Chemours Company,

          The Chemours Company FC, LLC, Corteva, Inc., DuPont de Nemours Inc., and Nation Ford

          Chemical Company.

                 71.      Defendant AGC Chemicals Americas, Inc. (“AGC”) is a corporation organized

          and existing under the laws of Delaware, having its principal place of business at 55 East Uwchlan

          Avenue, Suite 201, Exton, PA 19341.


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                 72.     On information and belief, AGC Chemicals Americas, Inc. was formed in 2004 and

          is a subsidiary of AGC Inc., a foreign corporation organized under the laws of Japan, with its a

          principal place of business in Tokyo, Japan.

                 73.     AGC manufactures specialty chemicals. It offers glass, electronic displays, and

          chemical products, including resins, water and oil repellants, greenhouse films, silica additives,

          and various fluorointermediates.

                 74.     On information and belief, AGC designed, manufactured, marketed, distributed,

          and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing

          the fluorosurfactants used in AFFF products.

                 75.     Defendant Archroma U.S., Inc. (“Archroma”) is a corporation organized and

          existing under the laws of Delaware, with its a principal place of business at 5435 77 Center Drive,

          Charlotte, North Carolina 28217.

                 76.     On information and belief, Archroma was formed in 2013 when Clariant

          Corporation divested its textile chemicals, paper specialties, and emulsions business to SK Capital

          Partners.

                 77.     On information and belief, Archroma designed, manufactured, marketed,

          distributed, and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

          manufacturing the fluorosurfactants used in AFFF products.

                 78.     Defendant Chemicals, Inc. (“Chemicals, Inc.”) is a corporation organized and

          existing under the laws of Texas, with its principal place of business located at 12321 Hatcherville,

          Baytown, TX 77520.




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                 79.    On information and belief, Chemicals, Inc. supplied PFCs containing PFOS,

          PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in

          AFFF products.

                 80.    Defendant Clariant Corporation (“Clariant”) is a corporation organized and

          existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

          Charlotte, North Carolina 28205.

                 81.    On information and belief, Clariant is the successor in interest to the specialty

          chemicals business of Sandoz Chemical Corporation (“Sandoz”). On information and belief,

          Sandoz spun off its specialty chemicals business to form Clariant in 1995.

                 82.    On information and belief, Clariant supplied PFCs containing PFOS, PFOA, and/or

          their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF products.

                 83.    Defendant Nation Ford Chemical Co. (“Nation Ford”) is a corporation

          organized and existing under the laws of South Carolina, with its principal place of business

          located at 2300 Banks Street, Fort Mill, SC 29715.

                 84.    On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

          and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

          products.

                 85.    On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont

          also supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

          manufacturing the fluorosurfactants used in AFFF products.

                 86.    On information and belief, the Fluorochemical Defendants supplied PFCs

          containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing the




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          fluorosurfactants used in AFFF products that were stored, handled, used, trained with, tested

          equipment with, otherwise discharged, and/or disposed at the Sites.

                       iv.          Doe Defendants 1-20

                 87.         Doe Defendants 1-20 are unidentified entities or persons whose names are presently

          unknown and whose actions, activities, omissions (a) may have permitted, caused and/or

          contributed to the contamination of Plaintiff’s water sources or supply wells; or (b) may be

          vicariously responsible for entities or persons who permitted, caused and/or contributed to the

          contamination of Plaintiff’s water sources or supply wells; or (c) may be successors in interest to

          entities or persons who permitted, caused and/or permitted , contributed to the contamination of

          Plaintiff’s water sources or supply wells. After reasonable search and investigation to ascertain the

          Doe Defendants actual names, the Doe Defendants’ actual identities are unknown to Plaintiff as

          they are not linked with any of the Defendants on any public source.

                 88.         The Doe Defendants 1-20 either in their own capacity or through a party they are

          liable for: (1) designed, manufactured, marketed, distributed, and/or sold AFFF products

          containing PFOS, PFOA, and/or their chemical precursors, and/or designed, manufactured,

          marketed, distributed, and/or sold the fluorosurfactants and/or PFCs contained in

          AFFF/Component Products; or (2) used, handled, transported, stored, discharged, disposed of,

          designed, manufactured, marketed, distributed, and/or sold PFOS, PFOA, and/or their chemical

          precursors, or other non-AFFF products containing PFOS, PFOA, and/or their chemical

          precursors; or (3) failed to timely perform necessary and reasonable response and remedial

          measures to releases of PFOS, PFOA, and/or their chemical precursors, or other non-AFFF

          products containing PFOS, PFOA, and/or their chemical precursors in to the environment.

                 89.         All Defendants, at all times material herein, acted by and through their respective

          agents, servants, officers and employees, actual or ostensible, who then and there were acting


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          within the course and scope of their actual or apparent agency, authority or duties. Defendants are

          liable based on such activities, directly and vicariously.

                 90.     Defendants represent all or substantially all of the market for AFFF/Component

          Products at the Sites.

                  FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

                 A. PFOA and PFOS and Their Risk to Public Health

                 91.     PFAS are chemical compounds containing fluorine and carbon. These substances

          have been used for decades in the manufacture of, among other things, household and commercial

          products that resist heat, stains, oil, and water. These substances are not naturally occurring and

          must be manufactured.

                 92.     The two most widely studied types of these substances are PFOA and PFOS.

                 93.     PFOA and PFOS have unique properties that cause them to be: (i) mobile and

          persistent, meaning that they readily spread into the environment where they break down very

          slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in

          organisms and up the food chain; and (iii) toxic, meaning that they pose serious health risks to

          humans and animals.

                 94.     PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

          spread in the environment. PFOA and PFOS also readily contaminate soils and leach from the soil

          into groundwater, where they can travel significant distances.

                 95.     PFOA and PFOS are characterized by the presence of multiple carbon-fluorine

          bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally,

          chemically, and biologically stable. They resist degradation due to light, water, and biological

          processes.




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                  96.       Bioaccumulation occurs when an organism absorbs a substance at a rate faster than

          the rate at which the substance is lost by metabolism and excretion. Biomagnification occurs when

          the concentration of a substance in the tissues of organisms increases as the substance travels up

          the food chain.

                  97.       PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

          relatively stable once ingested, so that they bioaccumulate in individual organisms for significant

          periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to

          any PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.

                  98.       PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

          humans eat fish that have ingested PFOA and/or PFOS.

                  99.       The chemical structure of PFOA and PFOS makes them resistant to breakdown or

          environmental degradation. As a result, they are persistent when released into the environment.

                  100.      Exposure to PFAS is toxic and poses serious health risks to humans and animals.

                  101.      PFAS are readily absorbed after consumption or inhalation and accumulate

          primarily in the bloodstream, kidney, and liver.

                  II.       Defendants’ Manufacture and Sale of AFFF/Component Products

                  102.      AFFF is a type of water-based foam that was first developed in the 1960s to

          extinguish hydrocarbon fuel-based fires.

                  103.      AFFF is a Class-B firefighting foam. It is mixed with water and used to extinguish

          fires that are difficult to fight, particularly those that involve petroleum or other flammable liquids.

                  104.      AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

          agents with fluorosurfactants. When mixed with water, the resulting solution produces an aqueous

          film that spreads across the surface of hydrocarbon fuel. This film provides fire extinguishment

          and is the source of the designation aqueous film-forming foam.


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                 105.    Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

          distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS, PFOA,

          or the chemical precursors that degrade into PFOS and PFOA.

                 106.    AFFF can be made without the fluorosurfactants that contain PFOA, PFOS, and/or

          their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release PFOA,

          PFOS, and/or their precursor chemicals into the environment.

                 107.    AFFF that contains fluorosurfactants, however, is better at extinguishing

          hydrocarbon fuel-based fires due to their surface-tension lowering properties, essentially

          smothering the fire and starving it of oxygen.

                 108.    The fluorosurfactants used in 3M’s AFFF products were manufactured by 3M’s

          patented process of electrochemical fluorination (“ECF”).

                 109.    The fluorosurfactants used in other AFFF products sold by the AFFF Defendants

          were manufactured by the Fluorosurfactant Defendants through the process of telomerization.

                 110.    The PFCs the Fluorosurfactant Defendants needed to manufacture those

          fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

          manufactured, marketed, distributed and/or sold by the PFC Defendants.

                 111.    On information and belief, the PFC and Fluorosurfactant Defendants were aware

          that the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or

          sold would be used in the AFFF products designed, manufactured, marketed, distributed, and/or

          sold by the AFFF Defendants.

                 112.    On information and belief, the PFC and Fluorosurfactant Defendants designed,

          manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in the




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          AFFF products discharged into the environment at the Site during fire protection, training, and

          response activities, resulting in widespread PFAS contamination.

                 113.      On information and belief, the AFFF Defendants designed, manufactured,

          marketed, distributed, and/or sold the AFFF products discharged into the environment at the Site

          during fire protection, training, and response activities, resulting in widespread PFAS

          contamination.

                 III.      Defendants’ Knowledge of the Threats to Public Health and the Environment
                           Posed by PFOS and PFOA

                 114.      On information and belief, by at least the 1970s 3M and DuPont knew or should

          have known that PFOA and PFOS are mobile and persistent, bioaccumulative and biomagnifying,

          and toxic.

                 115.      On information and belief, 3M and DuPont concealed from the public and

          government agencies its knowledge of the threats to public health and the environment posed by

          PFOA and PFOS.

                 116.      Some or all of the Defendants understood how stable the fluorinated surfactants

          used in AFFF are when released into the environment from their first sale to a customer, yet they

          failed to warn their customers or provide reasonable instruction on how to manage wastes

          generated from their products.

                             i.   1940s and 1950s: Early Warnings About the Persistence of AFFF

                 117.      In 1947, 3M started its fluorochemical program, and within four years, it began

          selling its PFOA to DuPont. The persistence and contaminating nature of the fluorosurfactants

          contained in AFFF products were understood prior to their commercial application at 3M’s Cottage

          Grove facility in Minnesota.




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                 118.    The inventor of 3M’s ECF process was J.H. Simons. Simons’ 1948 patent for the

          ECF process reported that PFCs are “non-corrosive, and of little chemical reactivity,” and “do not

          react with any of the metals at ordinary temperatures and react only with the more chemically

          reactive metals such as sodium, at elevated temperatures.”1

                 119.    Simons further reported that fluorosurfactants produced by the ECF process do not

          react with other compounds or reagents due to the blanket of fluorine atoms surrounding the carbon

          skeleton of the molecule. 3M understood that the stability of the carbon-to-fluorine bonds

          prevented its fluorosurfactants from undergoing further chemical reactions or degrading under

          natural processes in the environment.2

                 120.    The thermal stability of 3M’s fluorosurfactants was also understood prior to

          commercial production. Simons’ patent application further discloses that the fluorosurfactants

          produced by the ECF process were thermally stable at temperatures up to 750° C (1382º F).

          Additional research by 3M expanded the understanding of the thermal stability of perfluorocarbon

          compounds.3

                 121.    Nowhere in any Material Safety Data Sheet for any of Defendants’

          AFFF/Component Products is information on the thermal stability of those products disclosed.

          Failure to disclose knowledge of the stability of the PFCs and fluorosurfactants used in AFFF

          products to customers is a failure to warn just how indestructible the AFFF’s ingredients are when

          released to unprotected water sources and even treatment plants.




             1
                Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948,
          available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.
              2
                Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422,
          available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.
              3
                Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine Chemistry,
          1(13): 423-462.


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                        ii.       1960s: AFFF’s Environmental Hazards Come into Focus

                 122.      By at least the end of the 1960s, additional research and testing performed by 3M

          and DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique

          chemical structure, were resistant to environmental degradation and would persist in the

          environment essentially unaltered if allowed to enter the environment.

                 123.      One 3M employee wrote in 1964: “This chemical stability also extends itself to all

          types of biological processes; there are no known biological organisms that are able to attack the

          carbon-fluorine bond in a fluorocarbon.”4 Thus, 3M knew by the mid-1960s that its surfactants

          were immune to chemical and biological degradation in soils and groundwater.

                 124.      3M also knew by 1964 that when dissolved, fluorocarbon carboxylic acids and

          fluorocarbon sulfonic acids dissociated to form highly stable perfluorocarboxylate and

          perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 and FC-143

          (the ammonium salt of PFOA) in soils indicated very high solubility and very high mobility in

          soils for both compounds.5

                        iii.      1970s: Internal Studies Provide Evidence of Environmental and Health
                                  Risks

                 125.      By 1950, 3M knew that the fluorosurfactants used in its AFFF product(s) would

          not degrade when released to the environment, but would remain intact and persist. Two decades

          later—and after the establishment of a robust market of AFFFs using fluorosurfactants—3M

          finally got around to looking at the environmental risks that fluorosurfactants posed.




             4
                 Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964), available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.
              5
                Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.


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                 126.      An internal memo from 3M in 1971 states that “the thesis that there is ‘no natural

          sink’ for fluorocarbons obviously demands some attention.”6 Hence, 3M understood at the very

          least that the fluorosurfactant used in its AFFF products would, in essence, never degrade once it

          was released into the environment.

                 127.      By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimate

          understanding of the persistent nature of PFCs. A 1976 study, for example, observed no

          biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as “unsurprising”

          in light of the fact that “[b]iodegradation of FC 95 is improbable because it is completely

          fluorinated.”7

                 128.      In 1977, Ansul authored a report titled “Environmentally Improved AFFF,” which

          acknowledged that releasing AFFF into the environment could pose potential negative impacts to

          groundwater quality.8 Ansul wrote: “The purpose of this work is to explore the development of

          experimental AFFF formulations that would exhibit reduced impact on the environment while

          retaining certain fire suppression characteristic . . . improvements [to AFFF formulations] are

          desired in the environmental area, i.e., development of compositions that have a reduced impact

          on the environment without loss of fire suppression effectiveness.” Thus, Ansul knew by the mid-

          1970s that the environmental impact of AFFF needed to be reduced, yet there is no evidence that

          Ansul (or any other Defendant) ever pursued initiatives to do so.

                 129.      A 1978 3M biodegradation study likewise reported that an “extensive study

          strongly suggest[ed]” one of its PFCs is “likely to persist in the environment for extended period



             6
                Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13,
          1971, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.
              7
                Technical Report Summary, August 12, 1976 [3MA01252037].
              8
                Ansul Co., Final Report: Environmentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec.
          13, 1977, available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a050508.pdf.


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          unaltered by metabolic attack.”9 A year later, a 3M study reported that one of its fluorosurfactants

          “was found to be completely resistant to biological test conditions,” and that it appeared waterways

          were the fluorosurfactant’s “environmental sink.”10

                 130.    In 1979, 3M also completed a comprehensive biodegradation and toxicity study

          covering investigations between 1975 and 1978. 11 More than a decade after 3M began selling

          AFFF containing fluorosurfactants it wrote: “there has been a general lack of knowledge relative

          to the environmental impact of these chemicals.” The report ominously asked, “If these materials

          are not biodegradable, what is their fate in the environment?”

                 131.    During the 1970s, 3M also learned that the fluorosurfactants used in AFFF

          accumulated in the human body and were “even more toxic” than previously believed.

                 132.    In 1975, 3M learns that PFAS was present in the blood of the general population.12

          Since PFOA and PFOS are not naturally occurring, this finding should have alerted 3M to the

          possibility that their products were a source of this PFOS. The finding also should have alerted 3M

          to the possibility that PFOS might be mobile, persistent, bioaccumulative, and biomagnifying, as

          those characteristics could explain how PFOS from 3M's products ended up in human blood.




             9
                Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies
          of        Fluorocarbons          -      II,        Jan.       1,        1978,       available        at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
              10
                 Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies
          of        Fluorocarbons         -      III,       July        19,        1978,       available       at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
              11
                 Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.
              12
                 Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma,
          Aug. 20, 1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.


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                  133.         In 1976, 3M found PFAS in the blood of its workers at levels “up to 1000 times

          ‘normal’ amounts of organically bound fluorine in their blood.”13 This finding should have alerted

          3M to the same issues raised by the prior year’s findings.

                  134.         Studies by 3M in 1978 showed that PFOA reduced the survival rate of fathead

          minnow fish eggs,14 that PFOS was toxic to monkeys,15 and that PFOS and PFOA were toxic to

          rats.16 In the study involving monkeys and PFOS, all of the monkeys died within days of ingesting

          food contaminated with PFOS.

                  135.         In 1979, 3M and DuPont discussed 3M’s discovery of PFOA in the blood of its

          workers and came to the same conclusion that there was “no reason” to notify the EPA of the

          finding.17

                         iv.          1980s and 1990s: Evidence of AFFF’s Health Risks Continues to Mount

                  136.         By at least the end of the 1980s, additional research and testing performed by

          Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain cancers

          and other adverse health effects, including elevated liver enzymes and birth defects, had been

          observed among workers exposed to such materials, including at least PFOA, but such data was




             13
                   3M Chronology – Fluorochemicals in Blood, Aug. 26, 1977, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.
              14
                 The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and
          Survival      of       Fry      of     Fathead      Minnow,       June     1978,   available    at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
              15
                  Ninety-Day Subacute Rhesus Monkey Toxicity Study, Dec. 18, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf; Aborted FC95 Monkey Study, Jan.
          2, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf.
              16
                  Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 – 90
          Day Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports and Summary, Mar. 20,
          1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
              17
                  Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of
          Fluorochemicals           in       Blood,        July        26,       1979,     available      at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.


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          not published, provided to governmental entities as required by law, or otherwise publicly

          disclosed at the time.

                  137.   In 1981, DuPont tested for and found PFOA in the blood of female plant workers

          Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed

          workers, finding two of seven children born to female plant workers between 1979 and 1981 had

          birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and eye defect. 18

                  138.   In 1983, 3M researchers concluded that concerns about PFAS “give rise to concern

          for environmental safety,” including “legitimate questions about the persistence, accumulation

          potential, and ecotoxicity of fluorochemicals in the environment.”19 That same year, 3M completed

          a study finding that PFOS caused the growth of cancerous tumors in rats.20 This finding was later

          shared with DuPont and led them to consider whether “they may be obliged under their policy to

          call FC-143 a carcinogen in animals.”21

                  139.   In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

          workers, leading one of the company’s medical officers to warn in an internal memo: “we must

          view this present trend with serious concern. It is certainly possible that . . . exposure opportunities

          are providing a potential uptake of fluorochemicals that exceeds excretion capabilities of the

          body.”22




             18
                 C-8 Blood Sampling Results, available at http://tiny.cc/v8z1mz.
             19
                 3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983,
          available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
              20
                 Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1
          of 4, Aug. 29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
              21
                 Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-
          Year Feeder Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988,
          available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.
              22
                 Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available
          at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.


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                 140.     A 1997 material safety data sheet (“MSDS”) for a non-AFFF product made by 3M

          listed its only ingredients as water, PFOA, and other perfluoroalkyl substances and warned that the

          product includes “a chemical which can cause cancer.” The MSDS cited “1983 and 1993 studies

          conducted jointly by 3M and DuPont” as support for this statement. On information and belief, the

          MSDS for 3M’s AFFF products did not provide similar warnings or information.

                        v.       Defendants Hid What They Knew from the Government and the Public.

                 141.     Federal law requires chemical manufacturers and distributors to immediately notify

          the EPA if they have information that “reasonably supports the conclusion that such substance or

          mixture presents a substantial risk of injury to health or the environment.” Toxic Substances

          Control Act (“TSCA”) § 8(e), 15 U.S.C. § 2607(e)

                 142.     In April 2006, 3M agreed to pay EPA a penalty of more than $1.5 million after

          being cited for 244 violations of the TSCA, which included violations for failing to disclose studies

          regarding PFOS, PFOA, and other PFCs dating back decades.

                 143.     Likewise, in December 2005, the EPA announced it was imposing the “Largest

          Environmental Administrative Penalty in Agency History” against DuPont based on evidence that

          it violated the TSCA by concealing the environmental and health effects of PFOA.

                 144.     On information and belief, Defendants knew or should have known that AFFF

          containing PFOA or PFOS would very likely injure and/or threaten public health and the

          environment, even when used as intended or directed.

                 145.     Defendants failed to warn of these risks to the environment and public health,

          including the impact of their AFFF/Component Products on the quality of unprotected water

          sources.

                 146.     Defendants were all sophisticated and knowledgeable in the art and science of

          designing, formulating, and manufacturing AFFF/Component Products. They understood far more


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          about the properties of their AFFF/Component Products—including the potential hazards they

          posed to human health and the environment—than any of their customers. Still, Defendants

          declined to use their sophistication and knowledge to design safer products.

                  IV.    The Impact of PFOS and PFOA on the Environment and Human Health Is
                         Finally Revealed

                  147.   As discussed above, neither 3M, DuPont, nor, on information and belief, any other

          Defendant complied with their obligations to notify EPA about the “substantial risk of injury to

          health or the environment” posed by their AFFF/Component Products. See TSCA § 8(e).

                  148.   Despite decades of research, 3M first shared its concerns with EPA in the late

          1990s. In a May 1998 report submitted to EPA, “3M chose to report simply that PFOS had been

          found in the blood of animals, which is true but omits the most significant information,” according

          to a former 3M employee.23

                  149.   On information and belief, 3M began in 2000 to phase out its production of products

          that contained PFOS and PFOA in response to pressure from the EPA.

                  150.   Once the truth about PFOS and PFOA was revealed, researchers began to study the

          environmental and health effects associated with them, including a “C8 Science Panel” formed out

          of a class action settlement arising from contamination from DuPont’s Washington Works located

          in Wood County, West Virginia.

                  151.   The C8 panel consisted of three epidemiologists specifically tasked with

          determining whether there was a probable link between PFOA exposure and human diseases. In

          2012, the panel found probable links between PFOA and kidney cancer, testicular cancer,




             23
                     Letter      from       R.     Purdy,     Mar.     28,       1999,       available     at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.


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          ulcerative colitis, thyroid disease, pregnancy-induced hypertension (including preeclampsia), and

          hypercholesterolemia.

                 152.    Human health effects associated with PFOS exposure include immune system

          effects, changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and high

          cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of tumors,

          changed hormone levels, and affected the function of the liver, thyroid, pancreas, and immune

          system.

                 153.    The injuries caused by PFAS can arise months or years after exposure.

                 154.    Even after the C8 Science Panel publicly announced that human exposure to 50

          parts per trillion, or more, of PFOA in drinking water for one year or longer had “probable links”

          with certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

          disease, preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured

          and represented to governmental entities, their customers, and the public (and continue to do so)

          that the presence of PFOA in human blood at the levels found within the United States presents no

          risk of harm and is of no legal, toxicological, or medical significance of any kind.

                 155.    Furthermore, Defendants have represented to and assured such governmental

          entities, their customers, and the public (and continue to do so) that the work of the independent

          C8 Science Panel was inadequate to satisfy the standards of Defendants to prove such adverse

          effects upon and/or any risk to humans with respect to PFOA in human blood.

                 156.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

          minimized, trivialized, manipulated, and/or otherwise influenced the information that was

          published in peer-review journals, released by any governmental entity, and/or otherwise made

          available to the public relating to PFAS in human blood and any alleged adverse impacts and/or




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          risks associated therewith, effectively preventing the public from discovering the existence and

          extent of any injuries/harm as alleged herein.

                  157.     On May 2, 2012, the EPA published its Third Unregulated Contaminant Monitoring

          Rule (“UCMR3”), requiring public water systems nationwide to monitor for thirty contaminants

          of concern between 2013 and 2015, including PFOS and PFOA.24

                  158.     In the May 2015 “Madrid Statement on Poly- and Perfluoroalkyl Substances

          (PFAS’s),” scientists and other professionals from a variety of disciplines, concerned about the

          production and release into the environment of PFOA, called for greater regulation, restrictions,

          limits on the manufacture and handling of any PFOA containing product, and to develop safe non-

          fluorinated alternatives to these products to avoid long-term harm to human health and the

          environment.25

                  159.     On May 25, 2016, the EPA released a lifetime health advisory (HAs) and health

          effects support documents for PFOS and PFOA.26 See Fed. Register, Vol. 81, No. 101, May 25,

          2016. The EPA developed the HAs to assist governmental officials in protecting public health

          when PFOS and PFOA are present in drinking water. The EPA HAs identified the concentration

          of PFOS and PFOA in drinking water at or below which adverse health effects are not anticipated

          to occur over a lifetime of exposure at 0.07 ppb or 70 ppt. The HAs were based on peer-reviewed

          studies of the effects of PFOS and PFOA on laboratory animals (rats and mice) and were also

          informed by epidemiological studies of human populations exposed to PFOS. These studies


             24
                 Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water
          Systems, 77 Fed. Reg: 26072 (May 2, 2012).
              25
                 Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T,
          Higgins C, Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly-
          and     perfluoroalkyl    substances     (PFASs).    Environ     Health   Perspect    123:A107–A111;
          http://dx.doi.org/10.1289/ehp.1509934.
              26
                 See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects
          Support Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.


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          indicate that exposure to PFOS and PFOA over these levels may result in adverse health effects,

          including:

                   a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low birth

                       weight, accelerated puberty, skeletal variations);

                   b. Cancer (testicular and kidney);

                   c. Liver effects (tissue damage);

                   d. Immune effects (e.g., antibody production and immunity);

                   e. Thyroid disease and other effects (e.g., cholesterol changes).

                   160.   In addition, PFOS and PFOA are hazardous materials because they pose a “present

          or potential threat to human health.”27

                   161.   In 2016, the National Toxicology Program of the United States Department of

          Health and Human Services (“NTP”) and the International Agency for Research on Cancer

          (“IARC”) both released extensive analyses of the expanding body of research regarding the

          adverse effects of PFCs. The NTP concluded that both PFOA and PFOS are “presumed to be an

          immune hazard to humans” based on a “consistent pattern of findings” of adverse immune effects

          in human (epidemiology) studies and “high confidence” that PFOA and PFOS exposure was

          associated with suppression of immune responses in animal (toxicology) studies.28

                   162.   IARC similarly concluded that there is “evidence” of “the carcinogenicity of . . .

          PFOA” in humans and in experimental animals, meaning that “[a] positive association has been




              27
                 Id.; see also National Ass'n for Surface Finishing v. EPA, 795 F.3d 1, 3, 6 (D.C. Cir. 2015) (referring
          to PFOS as a “toxic compound” and a “hazardous chemical.”).
              28
                 See U.S. Dep’t of Health and Human Services, Nat’l Toxicology Program, NTP Monograph:
          Immunotoxicity Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept.
          2016), at 1, 17, 19, available at https://ntp.niehs.nih.gov/ntp/ohat/pfoa_pfos/pfoa_pfosmonograph_508.pdf


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          observed between exposure to the agent and cancer for which a causal interpretation is . . .

          credible.”29

                    163.   California has listed PFOA and PFOS to its Proposition 65 list as a chemical known

          to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act of

          1986.30

                    164.   The United States Senate and House of Representatives passed the National

          Defense Authorization Act in November 2017, which included $42 Million to remediate PFC

          contamination from military bases, as well as devoting $7 Million toward the Investing in Testing

          Act, which authorizes the Center for Disease Control and Prevention (“CDC”) to conduct a study

          into the long-term health effects of PFOA and PFOS exposure.31 The legislation also required that

          the Department of Defense submit a report on the status of developing a new military specification

          for AFFF that did not contain PFOS or PFOA.32

                    165.   In June 2018, the Agency for Toxic Substances and Disease Registry (“ATSDR”)

          and EPA released a draft toxicological profile for PFOS and PFOA and recommended the drinking

          water advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.33




             29
                 See Int’l Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and
          in      Polymer        Manufacture       (Dec.      2016),      at     27,     97,     available      at
          http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.
              30
                 California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10,
          2017 as Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid (PFOA)
          and Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at https://oehha.ca.gov/proposition-
          65/crnr/chemicals-listed-effective-november-10-2017-known-state-california-cause.
              31
                 National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017),
          available at https://www.congress.gov/115/plaws/publ91/PLAW-115publ91.pdf.
              32
                 Id.; see also U.S. Department of Defense, Alternatives to Aqueous Film Forming Foam Report to
          Congress, June 2018, available at https://www.denix.osd.mil/derp/home/documents/alternatives-to-
          aqueous-film-forming-foam-report-to-congress/.
              33
                 ATSDR, Toxicological Profile for Perfluoroalkyls: Draft for Public Comment (June 2018), available
          at https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.


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                  166.   On February 20, 2020, the EPA announced a proposed decision to regulate PFOA

          and PFOS under the Safe Drinking Water Act, which the agency characterized as a “key milestone”

          in its efforts to “help communities address per- and polyfluoroalkyl substances (PFAS)

          nationwide.”34 Following a public comment period on its proposed decision, the EPA will decide

          whether to move forward with the process of establishing a national primary drinking water

          regulation for PFOA and PFOS.

                  V.     AFFF Containing PFOS and PFOA Is Fungible and Commingled in the
                         Groundwater

                  167.   AFFF containing PFOS and/or PFOA, once it has been released to the environment,

          lacks characteristics that would enable identification of the company that manufactured that

          particular batch of AFFF or chemical feedstock.

                  168.   A subsurface plume, even if it comes from a single location, such as a retention

          pond or fire training area, originates from mixed batches of AFFF and chemical feedstock coming

          from different manufacturers.

                  169.   Because precise identification of the specific manufacturer of any given

          AFFF/Component Product that was a source of the PFAS found at Reese Air Force Base, during

          fire protection, training, and response activities, resulting in widespread PFAS contamination is

          nearly impossible, given certain exceptions, Plaintiffs must pursue all Defendants, jointly and

          severally.

                  170.   Defendants are also jointly and severally liable because they conspired to conceal

          the true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products

          containing PFOS and PFOA, at Plaintiffs’ expense, and to attempt to avoid liability.


             34
                Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water,
          Feb. 20, 2020, available at https://www.epa.gov/newsreleases/epa-announces-proposed-decision-regulate-
          pfoa-and-pfos-drinking-water.


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                         MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
                          CONCERT OF ACTION, AND ENTERPRISE LIABILITY
                 171.    Defendants in this action are manufacturers that control a substantial share of the

          market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors

          in the United States and are jointly responsible for the contamination of the groundwater at the

          Site, affecting groundwater sources within the vicinity of the base. Market share liability attaches

          to all Defendants and the liability of each should be assigned according to its percentage of the

          market for AFFF/Component Products at issue in this Complaint.

                 172.    Because PFAS is fungible, it is impossible to identify the exact Defendant who

          manufactured any given AFFF/Component Product containing PFOS, PFOA, and/or their

          chemical precursors found free in the air, soil or groundwater, and each of these Defendants

          participated in a territory-wide and U.S. national market for AFFF/Component Products during

          the relevant time.

                 173.    Concert of action liability attaches to all Defendants, each of which participated in

          a common plan to commit the torts alleged herein and each of which acted tortuously in pursuance

          of the common plan to knowingly manufacture and sell inherently dangerous AFFF/Component

          Products containing PFOS, PFOA, and/or their chemical precursors.

                 174.    Enterprise liability attaches to all the named Defendants for casting defective

          products into the stream of commerce.

                                                   CONSPIRACY

                 175.    Defendants actually knew of the health and environmental hazards which PFOA

          and PFOS posed to Plaintiffs.

                 176.          Beginning in the 1970s and continuing through the date of this Complaint,

          Defendants formed joint task forces, committees and otherwise colluded for the avowed purpose




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          of providing information about AFFF/Component Products containing PFOA and/or PFOS to the

          public and to government agencies with the unlawful purpose of:

                    a.       Creating a market for AFFF/Component Products containing PFOA and/or

                             PFOS despite knowledge of the hazards which PFOA and PFOS posed to the

                             groundwater in Colorado and the residents who depend on such water;

                    b.       Concealing the environmental properties and toxic nature of PFOA and PFOS,

                             and its impact on Plaintiffs and the environment; and

                    c.       Maximizing profits in a way Defendants knew or should have known would

                             result in the contamination of Plaintiffs.

                 177.     Defendants carried out their conspiracy by one or more of the following overt acts

          or omissions:

                    a.       Intentionally representing to the DOD, USAF, USEPA and the public that

                             AFFF/Component Products containing PFOA and PFOS were safe and did not

                             pose an environmental or human health risk;

                    b.       Concealing the dangers of PFOA and PFOS (including toxicological

                             information on the dangers of the chemicals to living organisms, adverse fate

                             and transport characteristics, and the propensity of PFOA and PFOS to

                             contaminate groundwater) from the government and the public by, among other

                             means, repeatedly requesting that information about the dangers and health

                             effects of PFOA and PFOS be suppressed and not otherwise published, and by

                             downplaying any adverse findings relating to PFOA and PFOS;




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                     c.      Concealing the dangers of AFFF/Component Products containing PFOA and

                             PFOS from end users, sensitive receptors, public water suppliers, and the users

                             and consumers of groundwater;

                     d.      Using their considerable resources to fight PFOA and PFOS regulation; and

                     e.      Collectively deciding to use PFOA and/or PFOS rather than other, safer

                             surfactants because AFFF/Component Products containing PFOA and/or PFOS

                             were the most profitable surfactant for Defendants to use.

                 178.         As a direct and proximate result of the Defendants’ above-described

          conspiracy, PFOA and PFOS, at all times relevant to this litigation has:

                     a.      Posed and continues to pose a health threat to Plaintiffs because it has

                             bioaccumulated in their bodies;

                     b.      Contaminated Plaintiffs’ bodies with PFOA and/or PFOS; and

                     c.      Created the need for remediation of PFOA- and PFOS- contaminated

                             groundwater for those property owners who utilize private water wells, or,

                             where remediation of the groundwater is impractical, installation of a system to

                             filter out PFOA and PFOS or procurement of water from alternative sources;

                                              CAUSES OF ACTION

                                                     COUNT 1:

                                              DEFECTIVE DESIGN

                 179.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 180.     As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants owed a duty to all persons whom its products might




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          foreseeably harm, including Plaintiffs, and not to market any product which is unreasonably

          dangerous in design for its reasonably anticipated used.

                  181.     Defendants’ AFFF/Component Products were unreasonably dangerous for its

          reasonably anticipated uses for the following reasons:

                  a. PFAS causes extensive groundwater contamination, even when used in its foreseeable and

                      intended manner;

                  b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                  c. PFAS poses significant threats to public health; and

                  d. PFAS create real and potential environmental damage.

                  182.     Defendants knew of these risks and failed to use reasonable care in the design of

          their AFFF/Component Products.

                  183.     AFFF containing PFOS, PFOA, and/or their chemical precursors poses a greater

          danger to the environment and to human health than would be expected by ordinary persons such

          as Plaintiffs.

                  184.     At all times, Defendants were capable of making AFFF/Component Products that

          did not contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative

          designs existed which were capable of preventing Plaintiffs’ injuries.

                  185.     The risks posed by AFFF containing PFOS, PFOA, and/or their chemical

          precursors far outweigh the products’ utility as a flame-control product.

                  186.     As a direct and proximate result of Defendants’ unreasonably dangerous design,

          manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their

          chemical precursors, Plaintiffs have been, and continues to be, contaminated with PFAS in varying

          amounts over time, causing Plaintiffs significant injuries and damages.




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                  187.    Defendants knew that it was substantially certain that their acts and omissions

          described above would injure Plaintiffs’ with PFAS in varying amounts over time, causing

          Plaintiffs significant injuries and damages. Contamination that led to the exposure of Plaintiffs’ to

          toxins and increased their risk of numerous diseases. Defendants committed each of the above-

          described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

          conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or property rights.

                                                       COUNT 2:

                                                 FAILURE TO WARN

                  188.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                  189.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants had a duty to provide adequate warnings of the risks of these

          products to all persons whom its product might foreseeably harm, including Plaintiffs.

                  190.    Defendants’ AFFF/Component Products were unreasonably dangerous for its

          reasonably anticipated uses for the following reasons:

                  a. PFAS causes extensive groundwater contamination, even when used in its foreseeable and

                      intended manner;

                  b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                  c. PFAS poses significant threats to public health; and

                  d. PFAS create real and potential environmental damage.

                  191.    Defendants knew of the health and environmental risks associated with their

          AFFF/Component Products and failed to provide a warning that would lead an ordinary reasonable




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          user or handler of a product to contemplate the dangers associated with their products or an

          instruction that would have avoided Plaintiffs’ injuries.

                 192.    Defendants’ knowledge of the environmental and human health hazards associated

          with the use and/or disposal of their AFFF/Component Products in the vicinity of drinking water

          supplies, including PFAS contamination of the drinking supplies, Defendants failed to issue any

          warnings, instructions, recalls, or advice regarding their AFFF/Component Products to Plaintiff,

          governmental agencies or the public.

                 193.    As a direct and proximate result of Defendants’ failure to warn, Plaintiffs have been,

          and continue to be, contaminated with PFAS in varying amounts over time, causing Plaintiffs

          significant injuries and damages. Further, this contamination led to the exposure of Plaintiffs to

          toxins and increased their probabilities of numerous diseases as more fully set forth above.

                 194.    Defendants knew that it was substantially certain that their acts and omissions

          described above would injure Plaintiffs with PFAS in varying amount, causing Plaintiffs

          significant injuries and damages. Defendants committed each of the above-described acts and

          omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with conscious

          and/or reckless disregard for Plaintiffs’ health and safety, and/or property rights.

                                                     COUNT 3:
                                                    NEGLIGENCE

                 195.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 196.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants owed a duty to Plaintiffs and to all persons whom its

          products might foreseeably harm and to exercise due care in the formulation, manufacture, sale,

          labeling, warning, and use of PFAS-containing AFFF.



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                  197.    Defendants owed a duty to Plaintiffs to act reasonably and not place inherently

          dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

          water was imminent and certain.

                  198.    Defendants knew or should have known that PFAS were leaching from AFFF used

          for fire protection, training, and response activities.

                  199.    Defendants knew or should have known that PFAS are highly soluble in water,

          highly mobile, extremely persistent in the environment, and high likely to contaminate water

          supplies if released into the environment.

                  200.    Defendants knew or should have known that the manner in which they were

          designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

          would result in contamination of Plaintiffs with PFAS in varying amounts over time, causing

          Plaintiffs significant injuries and damages.

                  201.    Despite the fact that Defendants knew or should have known that PFAS are toxic,

          can contaminate water resources and are carcinogenic, Defendants negligently:

                  a. designed, manufactured, formulated, handled, labeled, instructed, controlled, marketed,

                      promoted, and/or sold AFFF/Component Products containing PFOS, PFOA, and/or their

                      chemical precursors;

                  b. issued deficient instructions on how their AFFF/Component Products should be used and

                      disposed of, thereby permitting PFAS to contaminate the groundwater in and around the

                      Site;

                  c. failed to recall and/or warn the users of their AFFF/Component Products of the dangers

                      of groundwater contamination as a result of standard use and disposal of their products;




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                 d. failed and refused to issue the appropriate warning and/or recalls to the users of their

                     AFFF/Component Products; and

                 e. failing to take reasonable, adequate, and sufficient steps or actions to eliminate, correct,

                     or remedy any contamination after it occurred.

                 202.    The magnitude of the burden on the Defendants to guard against this foreseeable

          harm to Plaintiffs was minimal, as the practical consequences of placing this burden on the

          Defendants amounted to a burden to provide adequate instructions, proper labeling, and sufficient

          warnings about their AFFF/Component Products.

                 203.    As manufacturers, Defendants were in the best position to provide adequate

          instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and

          to take steps to eliminate, correct, or remedy any contamination they caused.

                 204.    As a direct and proximate result of Defendants’ negligence, Plaintiffs have been

          contaminated with PFAS, in varying amounts of time, causing Plaintiffs significant injuries and

          damages.

                 205.    Defendants knew that it was substantially certain that their acts and omissions

          described above would cause Plaintiffs to be contaminated with PFAS in varying amounts over

          time, causing Plaintiffs significant injuries and damages. Defendants committed each of the above-

          described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and

          with conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or property rights.

                                                      COUNT 4:
                                                      BATTERY

                 206.     Plaintiff hereby incorporates by reference the allegations contained in the

          preceding paragraphs of this Complaint as if restated in full herein.




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                 207.    At all relevant times, Defendants possessed knowledge that the AFFF containing

          PFAS which they designed, engineered, manufactured, fabricated, sold, handled, released, trained

          users on, produced instructional materials for, used, and/or distributed were bio- persistent, bio-

          accumulative, toxic, potentially carcinogenic, and/or otherwise harmful/injurious and that their

          continued manufacture, use, sale, handling, release, and distribution would result in Plaintiff

          having PFAS in Plaintiff’s blood, and the biopersistence and bioaccumulation of such PFAS in

          Plaintiff’s blood.

                 208.    However, despite possessing such knowledge, Defendants knowingly, purposefully,

          and/or intentionally continued to engage in such acts and/or omissions, including but not limited

          to all such acts and/or omissions described in this Complaint, that continued to result in Plaintiff

          accumulating PFAS in Plaintiff’s blood and/or body, and such PFAS persisting and accumulating

          in Plaintiff’s blood and/or body.

                 209.    Defendants did not seek or obtain permission or consent from Plaintiff to put or

          allow PFAS materials into Plaintiff’s blood and/or body, or to persist in and/or accumulate in

          Plaintiff’s blood and/or body.

                 210.    Entry into, persistence in, and accumulation of such PFAS in Plaintiff’s body and/or

          blood without permission or consent is an unlawful and harmful and/or offensive physical invasion

          and/or contact with Plaintiff’s person and unreasonably interferes with Plaintiff’s rightful use and

          possession of Plaintiff’s blood and/or body.

                 211.    At all relevant times, the PFAS present in the blood of Plaintiff originated from

          Defendants’ acts and/or omissions.

                 212.    Defendants continue to knowingly, intentionally, and/or purposefully engage in

          acts and/or omissions that result in the unlawful and unconsented-to physical invasion and/or




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          contact with Plaintiff that resulted in persisting and accumulating levels of PFAS in Plaintiff’s

          blood.

                   213.     Plaintiff, and any reasonable person, would find the contact at issue harmful and/or

          offensive.

                   214.     Defendants acted intentionally with the knowledge and/or belief that the contact,

          presence and/or invasion of PFAS with, onto and/or into Plaintiff’s blood serum, including its

          persistence and accumulation in such serum, was substantially certain to result from those very

          acts and/or omissions.

                   215.     Defendants’ intentional acts and/or omissions resulted directly and/or indirectly in

          harmful contact with Plaintiff’s blood and/or body.

                   216.     The continued presence, persistence, and accumulation of PFAS in the blood and/or

          body of Plaintiff is offensive, unreasonable, and/or harmful, and thereby constitutes a battery.

                   217.     The presence of PFAS in the blood and/or body of Plaintiff altered the structure

          and/or function of such blood and/or body parts and resulted in cancer.

                   218.     As a direct and proximate result of the foregoing acts and omissions, Plaintiff

          suffered physical injury for which Defendants are therefore liable.

                   219.     WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

          compensatory, consequential, and punitive damages, together with the costs of this action, and for

          such other and further relief as this Court may deem fit, just, and proper.

                                             COUNT 5:
                          ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                   220.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:




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                 221.    Through their effectuation of the Spinoff, Chemours Co. and DuPont (the

          “Fraudulent Transfer Defendants”) caused Chemours Co. to transfer valuable assets to DuPont,

          including but not limited to the $3.9 billion dividend (the “Transfers”), while simultaneously

          assuming significant liabilities (the “Assumed Liabilities”).

                 222.    The Transfers and Assumed Liabilities were made for the benefit of DuPont.

                 223.    At the time that the Transfers were made and the Liabilities were assumed, and

          until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

          Chemours Co.

                 224.    The Fraudulent Transfer Defendants made the Transfers and incurred the Assumed

          Liabilities with the actual intent to hinder, delay, and defraud the creditors or future creditors of

          Chemours Co.

                 225.    Plaintiffs have been harmed as a result of the conduct of the Fraudulent Transfer

          Defendants.

                 226.    Plaintiffs are entitled to avoid the Transfers and to recover property or value

          transferred to DuPont.

                                                          COUNT 6:

                 CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                 227.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 228.    Chemours Co. did not receive reasonably equivalent value from DuPont in exchange

          for the Transfers and Assumed Liabilities.

                 229.    Each of the Transfers and the assumption of the Assumed Liabilities by Chemours

          Co. was made to or for the benefit of DuPont.




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                  230.   At the time that the Transfers were made, and the Assumed Liabilities were assumed,

          and until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

          Chemours Co.

                  231.   The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

          Liabilities when Chemours Co. was engaged or about to be engaged in a business for which its

          remaining assets were unreasonably small in relation to its business.

                  232.   Chemours Co. was insolvent or in contemplation of insolvency at the time of the

          Transfers or became insolvent as a result of the Transfers and its assumption of the Assumed

          Liabilities.

                  233.   At the time that the Transfers were made and Chemours Co. assumed the Assumed

          Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should

          have believed, that Chemours Co. would incur debts beyond its ability to pay as they became due.

                  234.   Plaintiffs have been harmed as a result of the Transfers.

                  235.   Plaintiffs are entitled to avoid the Transfers and to recover property or value

          transferred to DuPont.

                                                    COUNT 6:
                                               PUNITIVE DAMAGES

                  236.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                  237.   Defendants engaged in willful, wanton, malicious, and/or reckless conduct that

          caused the foregoing damage upon Plaintiff, disregarding their protected rights.

                  238.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is not

          limited to Defendants’ failure to take all reasonable measures to ensure PFAS would not be

          released into the environment and inevitably into Plaintiffs’ body which was contaminated and



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          continues to be contaminated with PFAS in varying amounts over time, causing Plaintiffs

          significant injury and damage.

                 239.    Defendants have caused great harm to Plaintiff, acting with implied malice and an

          outrageously conscious disregard for Plaintiffs’ rights and safety, such that the imposition of

          punitive damages is warranted.

                                               PRAYER FOR RELIEF

                 WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them, jointly

          and severally, and request the following relief from the Court:

                     a. a declaration that Defendants acted with negligence, gross negligence, and/or willful,

                         wanton, and careless disregard for the health, safety of Plaintiffs;

                     b. an award to Plaintiffs of general, compensatory, exemplary, consequential, nominal,

                         and punitive damages;

                     c. an order for an award of attorney fees and costs, as provided by law;

                     d. pre-judgment and post-judgment interest as provided by law;

                     e. compensatory damages according to proof including, but not limited to:

                     f. costs and expenses related to past, present, and future treatment of the

                         bioaccumulation of PFAS in Plaintiffs’ bodies;

                     g. an order barring the transfer of DuPont’s liabilities for the claims brought in this

                         Complaint;

                     h. an award of punitive damages in an amount sufficient to deter Defendants’ similar

                         wrongful conduct in the future;

                     i. an award of consequential damages;

                     j. an order for an award of attorney fees and costs, as provided by law;

                     k. an award of pre-judgment and post-judgment interest as provided by law; and


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                    l. an order for all such other relief the Court deems just and proper.

                                                  JURY DEMAND

                Plaintiff demands a trial by jury of all issues so triable as a matter of right.



          Dated: New York, New York
                 May 31, 2022

                                                                Respectfully submitted,

                                                                 NAPOLI SHKOLNIK

                                                                 By: /s/ Patrick J. Lanciotti

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